            Case 8:20-bk-07828-CPM             Doc 20      Filed 04/20/21       Page 1 of 20

                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


IN RE:                                                  Case No.8:20-bk-07828-CPM
                                                        Chapter 7
JOSE ANGEL REYES CONCEPCION,

            Debtor.
______________________________________/


  AMERICAN FINANCIAL RESOURCES, INC., A NEW JERSEY CORPORATION
 RESPONSE TO CHAPTER 7 TRUSTEE’S MOTION TO APPROVE A SHORT SALE
 OF REAL PROPERTY FEE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES,
    AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) BID
 PROCEDURES, (III) SURCHARGE AGREEMENT BETWEEN SECURED LENDER
  AND THE ESTATE (IV) SECURED LENDER’S RIGHT TO CREDIT BID, AND (V)
                              OTHER RELIEF
              (Re: 16488 Centipede St, Clermont, Florida 34714)
         American Financial Resources, Inc., a New Jersey Corporation (“Respondent”), by and

through undersigned counsel, hereby submits its Response to Trustee’s Motion To Approve A

Short Sale Of Real Property Fee And Clear Of Liens, Claims, Encumbrances, And Interests

Pursuant To 11 U.S.C. § 363(B), (F), And (M), (Ii) Bid Procedures, (Iii) Surcharge Agreement

Between Secured Lender And The Estate (Iv) Secured Lender’s Right To Credit Bid, And (V)

Other Relief (“Motion to Approve A Short Sale”) to preserve its rights to be paid off in full as a

first position creditor or in accordance with any approval as authorized by Respondent. The basis

of the Conditional Response is stated below

                                              RECITALS1
         On April 11, 2018, Jose Angel Reyes Concepcion (“Debtor”) executed a promissory Note

in the principal sum of $270,019.00 (the “Note”). A copy of the Note is attached hereto as

Exhibit A and incorporated herein by reference.




1 Pursuant to Rules 201(b) and 201(d) of the Federal Rules of Evidence, which are made applicable to this

proceeding by Rule 9017 of the Federal Rules of Bankruptcy Procedure, Respondent requests that the Court take
judicial notice of the documents and other records on file in this case.
1 The Note and Mortgage are collectively referred to herein as the “Loan.”
            Case 8:20-bk-07828-CPM          Doc 20        Filed 04/20/21   Page 2 of 20

       The Note is secured by a recorded mortgage (the “Mortgage”) executed by Debtor and

non-filing co-owner Amy S. Reyes encumbering the real property located at 16488 Centipede

St, Clermont, Florida 34714 (the “Property”). A copy of the Mortgage is attached hereto as

Exhibit B and incorporated herein by reference.
       On October 21, 2020, Debtor commenced the instant case by filing a voluntary petition

under Chapter 13 of the Bankruptcy Code.

       On April 9, 2021, the Trustee filed a Motion to Approve a Short Sale [D.E. No. 17]

according to which the Debtor has received an offer to purchase the Property for the price of

$294,000.00.
       RESPONDENT DOES NOT OPPOSE TRUSTEE’S MOTION TO
       APPROVE A SHORT SALE OF REAL PROPERTY ON THE
       CONDITION THAT THE FOLLOWING PROVISIONS ARE INCLUDED
       IN THE ORDER

       1.      This Response is contingent upon Respondent’s secured claim being paid off in

full or in accordance with any approval as authorized by Respondent.

       2.      The estimated payoff good through April 30, 2021, 2021 is $285.630.51.

       3.      Moreover, Respondent requests that the sale take place no later than 90 days after

the signing of the Order granting same.

       4.      In the event that the sale of the Property does not take place, Respondent shall

retain its lien for the full amount due under the Loan.

       Based on the foregoing, Respondent hereby submits its Response to Chapter 7 Trustee’s

Motion to Approve a Short Sale.
Respectfully Submitted:
                                                      /s/ Wanda D. Murray
                                                      Wanda D. Murray
                                                      Bar No.: 566381
                                                      Aldridge Pite, LLP
                                                      Attorney for Secured Creditor
                                                      Fifteen Piedmont Center
                                                      3575 Piedmont Road, N.E., Suite 500
                                                      Atlanta, GA 30305
                                                      Phone: (404) 994-7400
                                                      Fax: (888) 873-6147
                                                      Email: WMurray@aldridgepite.com
           Case 8:20-bk-07828-CPM        Doc 20     Filed 04/20/21    Page 3 of 20



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Response to Chapter
7 Trustee’s Motion to Approve Short Sale of Real Property was served electronically or via U.S.
Mail, first-class postage prepaid, to:


DEBTOR ATTORNEY
(via electronic notice)
Paul L Urich
paulu@urichoffice.com


DEBTOR
Jose Angel Reyes Concepcion
7407 Floral Circle W
Lakeland, FL 33810

TRUSTEE
(via electronic notice)
Traci K. Stevenson
tracikstevenson@gmail.com


UNITED STATES TRUSTEE
(via electronic notice)
Department of Justice
Middle District of Florida - Tampa Division
United States Trustee - TPA7/13, 7
USTPRegion21.TP.ECF@USDOJ.GOV



Dated: April 20, 2021

                                                   /s/ Wanda D. Murray
                                                   Wanda D. Murray
                                                   Bar No.: 566381
                                                   Aldridge Pite, LLP
                                                   Attorney for Secured Creditor
                                                   Fifteen Piedmont Center
                                                   3575 Piedmont Road, N.E., Suite 500
                                                   Atlanta, GA 30305
                                                   Phone: (404) 994-7400
                                                   Fax: (888) 873-6147
                                                   Email: WMurray@aldridgepite.com
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 4 of 20




                                                     EXHIBIT A
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 5 of 20




                                                     EXHIBIT A
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 6 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 7 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 8 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 9 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 10 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 11 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 12 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 13 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 14 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 15 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 16 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 17 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 18 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 19 of 20




                                                     EXHIBIT B
Case 8:20-bk-07828-CPM   Doc 20   Filed 04/20/21   Page 20 of 20




                                                     EXHIBIT B
